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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:14-CR-00154
12                               Plaintiff,             STIPULATION AND ORDER REGARDING
                                                        BRIEFING SCHEDULE ON DEFENDANT’S
13                         v.                           MOTION FOR REDUCTION IN SENTENCE AND
                                                        COMPASSIONATE RELEASE
14   ALEX MENDOZA,
15                               Defendant.
16

17                                                 STIPULATION
18          1.     Defendant Alex Mendoza filed a pro se motion for reduction in sentence and
19 compassionate release on June 25, 2020. Docket No. 276. On July 7, 2020, the Court set the following
20 schedule:

21                 a. July 17, 2020: government’s response;
22                 b. July 31,2020: defendant’s reply
23          2.     The government had not received the necessary documentation from the Bureau of
24 Prisons as of July 16, 2020. As such, the government contacted defense and requested a stipulation

25 allowing the government to file its response by Thursday, July 23, 2020. Defense agreed, and asked that

26 his reply be due two weeks later, which is August 6, 2020.
27          3. Counsel for the defendant agrees with this request.
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 1          2.     The parties desire additional time for briefing on defendant’s motion. Accordingly, by

 2 this stipulation, the parties now move that:

 3                 a)      The government’s opposition or response to defendant’s motion be due on July

 4 23, 2020; and

 5                 b)      The defense reply, if any, will be due on August 6, 2020.

 6

 7          IT IS SO STIPULATED.

 8
                                                          McGREGOR W. SCOTT
 9                                                        United States Attorney
10   Dated: July 17, 2020
                                                          /s/ Kimberly A. Sanchez
11                                                        KIMBERLY A. SANCHEZ
                                                          Assistant United States Attorney
12

13
     Dated: July 17, 2020                                 /s/ David Harshaw
14                                                        DAVID HARSHAW
                                                          Counsel for Defendant Alex Mendoza
15

16                                                  ORDER
17          Based upon the stipulation and representations of the parties, the Court adopts the proposed
18 revised briefing schedule as follows:

19                 a)      The government’s opposition or response to defendant’s motion is due on July 23,
20 2020; and

21                 b)      The defense reply, if any, is due on August 6, 2020.
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23 IT IS SO ORDERED.

24      Dated:     July 20, 2020
25                                                    UNITED STATES DISTRICT JUDGE

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